°'“='F°"“f°m°°§} Case: 1:O7-Cv-05276 Document #: 91 Filed: 07/15/08 Page 1 of 1 Page|D #:490
United States District Court._. Nerthern District cf Illinois

 

 

 

 

 

 

 

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CASE NUMBER 07 C 5276 DATE 7/15/2008
CASE Anthcny Saffnrd vs. Andrew lanik, et al
TITLE

     
   

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Pursuant te the Stipulatien te Disrniss, All claims cf plaintiff`, against defendants are dismissed with prejudice
and With each side hearing its own costs and attorneys’ fees in accordance with the Release and Settlernent

Agreement. ENTER AGREED ORDER OF DISMISSAL. Any pending motions and er scheduling dates
are stricken and terminated Civil case terminated

 

 

 

 

 

 

 

 

- [For further detail see separate order(s).] Dwkctins to mail mtin
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